                     Case 4:16-cr-00224-WTM-CLR Document 260 Filed 01/02/18 Page 1 of 2
OAS 245D            Judgment in a Criminal Case for Revocations




                                            United States District Court
                                                                  Southern District of Georgia
                                                                     Savannah Division

               UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                    V.
                                                                                      (For Revocation of Probation or Supervised Release)
                            Eugene Curtis
                                                                                       Case Number:              4:16CR00224-6

                                                                                       USM Number:               21548-021

                                                                                       Murdoch Walker
                                                                                       Defendant's Attorney
THE DEFENDANT:

!EI admitted guilt to violation of mandatory conditions ofthe term of supervision.
Q was found in violation of conditions(s)                                                             after denial of guilt.

The defendant is adjudicated guilty of these offenses:

    Violation Number                Nature of Violation                                                                             Violation Ended


               1                    The defendant failed to refrain from the unlawful use of a controlled substance                   April 19, 2017
                                   (mandatory condition).
             2                      The defendant failed to refrain from the unlawful use of a controlled substance                   July 13, 2017
                                   (mandatory condition).
             3                      The defendant failed to refrain from the unlawful use of a controlled substance                 October 30,2017
                                   (mandatory condition).
         The defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

D The defendant has not violated condition(s)                                                       and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              i)ecember 28, 20
Last Four Digits of Defendant's Soc. Sec: 8823                                 Dale of Imposition of Judgment




Defendant's Year of Birth: 1966
                                                                               Signature of Judge


City and Stale of Defendant's Residence:

Savannah. Georgia

                                                                               William T. Moore, Jr.
                                                                               Judge, U.S. District Court
                                                                               Name and Title of Judge
                   U. S. i^lSiTRiCT COURT
                   Southern District of Ga.
                       FHedi in Office
                                                                               Date

                                               2fl ^
                           Deputy Clerk
Case 4:16-cr-00224-WTM-CLR Document 260 Filed 01/02/18 Page 2 of 2
